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Case 2:12-cV-05403-DDP-I\/|RW Document 1 `Filed 06/21/12 Page 1 of 9 Page |D #:A

 

G. Thomas Martin, 111 (SBN 218456)

PRICE LAW GROUP, APC

15760 Ventura B1Vd., Suite 1100 ii
Encirlo, CA 91436
Direct Dial: (818) 907- 2030
Fax: (818? 205- 3730
tom@plg awflrm. com 1
Attorne S for Plaintiff, i
JERO O DELL 1

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UNITED STATES ])IS'I`RICT COURT
CENTRAL DISTRICT§§§CQAI;§FORNIA

 

Case No.: §
JEROME O’I)ELL, -
. . COMPLAINT AN]) DEMAN]) FOR
Plamtlff`, JURY TRIAL
VS. (Uniawfuf l)ebt Collection Practiees)

I)emand ])oes Not Exceed 510,000
EVERGREEN PROFESSIONAL
RECOVERIES, INC.; and DOES 1 to
10 inclusive,

Defendants.

 

 

COMPLA!NT
INTRODUCTION
1. This is an action for actual and Statutory damages brought by plaintiff
JEROME O’DELL, an individual consumer, against defendant EVERGREEN
PROFESSIONAL RECOVERIES, INC. (herein after referred 10 as
“EVERGREEN” or “Defendant”) for Violations of the Rosenthal Fair Debt

Co]leetion Praetiees Act, Cal. Civ. Code §§ 1788 et Seq. (hereinafter “R§FDCPA”),

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COMPLAINT

 

 

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` Defendant is the collection of debts in this state and Det`endant regularly attempts

 

Case 2:12-cV-05403-DDP-I\/|RW Document 1 Filed 06/21/12 Page 2 019 Page |D #:ES

Which prohibit debt collectors from engaging in abusive, deceptive, and unfair
practices
VENUE AND JURISDICTION 1

2. Jurisdiction of this court arises under Cal. Civ. Code §§ 1788.30, and
28 U.S.C. § 1331 and § 1337. Venue in this District is proper in that the Defendant
transacts business here and the conduct complained of occurred here.

PARTIES

3. Plaintiff JEROl\/IE O’DELL is a consumer, a natural person allegedly
obligated to pay any debt, residing in Los Angeles County in the state of
California.

4. Defendant EVERGRBEN is a corporation engaged in the business of
collecting debt in this state, and maintains its corporate office at 12100 N.E. 195t11

Street, Suite #325, Bothell, Washington 98011. The principal purpose of

to collect debts alleged to be due another.

5. Det`endant is engaged in the collection of debts from consumers using
the mail and telephone Defendant regularly attempts to collect consumer debts
alleged to be due to another. Det`endant is a ‘ ‘debt collector” as defined by the

FDCPA, 15 U.s.o. § 16923(6),31:1(1:11@ eat civ. oode§ 1788.2.

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6. Upon information and belief, Within one year prior to the filing of this
complaint, Defendant placed collection calls to Plaintiff, seeking and demanding
payment for an alleged consumer debt owed under an account number.

7. The debt that Defendant is attempting to collect on is an alleged
obligation of a consumer to pay money arising out of a transaction in Which the
money, property, insurance or services Which are the subject of the transaction are
primarily for personal, family, or household purposes, Whether or not such
obligation has been reduced to judgment

8. Upon information and belief, Defendant’s agent “Cindy” began
contacting Plaintiff and placing collection calls to Plaintiff prior to lone of 2012
from telephone number 425~93 9-1252 to Plaintiff` s Work telephone number.

9. Defendant has left voicernails With Plaintiff and failed to
meaningfully identify itself as a debt collector.

10. Defendant has engaged in deceptive and misleading conduct in failing
to meaningfully identify itself as a debt collector

COUN'I` I - FDCPA

11. Plaintiff repeats and realleges and incorporates by reference the

foregoing paragraphs

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COMPLAINT

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are not limited to the following:

 

 

12. Defendant violated the FDCPA. Defendant’s violations include, but

C()UNT I - FDCPA

ll. Plaintiff incorporates paragraphs 1 - 10.
12. Defendant thereby violated the following provisions of the FDCPA:

i) 15 U.S.C. §1692d(5);

ii) 15 U.S.C. §1692d(6);

iii) 15 U.S.C. §1692e(10);

Vi) 15 U.S.C. §1692e(11).
13. Sections 1692d(5) and d(6) state in pertinent part that:
A debt collector may not engage in any conduct the natural consequence
of Which is to harass, oppress, or abuse any person in connection With
the collection of a debt. Witliout limiting the general application of the
foregoing, the following conduct is a violation of this section:
(5) Causing a telephone to ring or engaging any person in telephone
conversation repeatedly or continuously With intent to annoy, abuse, or

harass any person at the called number.

(6) Except as provided in section 1692b of this title, the placement of
telephone calls Without meaningful disclosure of the caller's identity

14. Sections 1692 e(lO) and e(l 1) state in pertinent part that:

A debt collector may not use any false, deceptive, or misleading
representation or means in connection With the collection of any debt.
Without limiting the general application of the foregoing, the following
conduct is a violation of this section:

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COMPLAINT

 

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(10) The use of any false representation or deceptive means to collector
attempt to collect any debt or to obtain information concerning a
consumer.

(11) Thc failure to disclose in the initial Written communication with the
consumer and, in addition, if the initial communication With the
consumer is oral, in that initial oral communication, that the debt
collector is attempting to collect a debt and that any information
obtained Will be used for that purpose, and the failure to disclose in
subsequent communications that the communication is from a debt
collector, except that this paragraph shall not apply to a formal
pleading made in connection with a legal action.

COUNT II ~ RFDCPA
15 . Piaintiff incorporates paragraphs l - l4.
16. Defendant thereby violated the following provisions of the RFDCPA:
i) Cal. Civ. Code § l788.1l(b);
ii) Cal. Civ. Code § l788.1i(d);
iii) Cal. Civ. Code § l788.ll(e); and
iv) Cal. Civ. Code § l788.l7.
17. Sections l788.ll (b), (d) and (e) state in pertinent part that:

1788.11. No debt collector shall collect or attempt to collect a
consumer debt by means of the following practices:

(b) Placing telephone calls Without disclosure of the caller's

identity, provided that an employee of a licensed collection agency
may identify himself by using his registered alias name as long as he
correctly identifies the agency he represents;

(d) Causing a telephone to ring repeatedly or continuously to
annoy the person called; or

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COMPLAINT

 

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Case 2:12-cV-05403-DDP-I\/|RW Document 1 Filed 06/21/12 Page 6 of 9 Page |D #:S

(e) Communicating, by telephone or in person, with the debtor With
such frequency as to he unreasonable and to constitute an harassment
to the debtor under the circumstances

18. Sections l788.17 states in pertinent part as follows:

1788.17. Notwithstanding any other provision of this title, every
debt collector collecting or attempting to collect a consumer debt
shall comply With the provisions of Sections 1692b to 1692j,
inclusive, of, and shall be subject to the remedies in Section 1692k
of, Title 15 of the United States Code. Hovvever, subsection (11) of
Section 1692e and Section 1692g shall not apply to any person
specified in paragraphs (A) and (`B) of subsection (6) of Section
1692a of Title 15 of the United States Code or that person's
principal Tlie references to federal codes in this section refer to
those codes as they read January 1, 2001.

PRAYER FOR RELIEF

Wl-IEREFORE, the Court should enter judgment in favor of Plaintitf and
against Defenda.nt for:

(l) Statutory and actual damages;
(2) Attorney’s fees, litigation expenses and costs ot` suit;

(3) Such other and further relief as the Court deems proper.

RESPECTFULLY SUBMITTED,
DATED: lone 20, 2012 PRICE LAW GROUP APC

  

By: j

 

G`: Thomas Martin, 111
Attorney for Plaintiff
DEMAND FOR JURY TRIAL

 

PLEASE TAKE NOTICE that Plaintii`t`, JEROl\/lE O’DELL demands trial

by jury in this action

-51

COMPLAINT

 

 

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G. 'l`liornas Martin, Ill (SBN 218456)
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UNITED STATES DISTRICT COURT
CENTRAL DIS'I`RICT OF CALIFORNIA

JEROME O’DELL case NUMBER

 
  
 

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PLAINrIFF(s) ® ij eis se

v. l a .._ e s

EVERGREEN PROFESSIONAL RECOVERIES,
INC.; and DOES l to lO, inclusive,

§

" summons

onFENDANr(s).

 

To; DnFENnAN'r(s);

A lawsuit has been filed against you.

Within 21 days after service ot` this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached lilcomplaint § amended complaint
l:| counterclaim |:| cross»claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff s attorney, G- ThOmaS Mal"€i!'l, m (SBN 213456) . whose address is
15760 Ventura Boulevard, Snitc 1100; Encino, California 91436 _ Ifyou fail to do 505

judgment by default Will be entered against you for the relief demanded in the complaint You also must tile
your answer or motion With the court.

Clerl<, U.S. District Court
JUN 21 2012

l)ated: By?

 

 

[Use 60 days ifthe defendant is the Um'tea’ Szates or a Unired Srates agency, or is an officer or employee ofthe Um'tea' Szates. Allowed
60 days by Rule 12(¢1)(3)].

 

CV»01A (10/1 l SUMMONS

Case 2:12-cV-05403-DDP-I\/|RW D cum nt 1 Filed 06/21/12 Page 8 of 9 Page |D #:11

 

 

i;> `\/'-'
UNITED STATES DISTR , N'I` L I)IS'I`RIC'I` OF CALIFORNIA
CIVIL COVER SHEET
f (a} PLAINT[FFS (Cheelc box if you are representing yourself f:l) DEFENDAN'I`S
JEROME O’DEL§J EVERGREEN PROFESS!ONAL RECOVERIES, INC.; and DOES § to §0,
ine§usive,
LOS ANGELES COUNTY WASHING?ON
(b) Attorneys (Firm Name, Adc§ress and Telephcne Number. if you are representing Attcmeys (If Known)
yourse§f, provide same.} "
Gi Thomas Martin, 111 (SBN 218456)
PRECE LAW GROUP, APC
15760 Ventura Blvd., #1100, Eneino, CA 91436','1`: (818) 907~2030

 

 

II. BASIS OF JURISD!CTION (P§acc an X in one box oniy.) III. CI'I`IZENSHIP OF PRINCIPAL PAR'PIES » I"or Diversity Cases Only

(Place an X t`n one box for plaintiff and one for defendant.)

P'I`F DEF
131 1111

1213 Federa{ Question (U.S.
Govemment Not a Party)

113 1 U.S. Government Piain£if£ PTF DEF

Citizen of This State lneorporated or Principal Plaee [§j] 4 113 4

01" Business in this State

13 2 U.S. Governrnerzt Defendant 111 4 Diversity {Inclicate Citizenship lIJ 2 fl 2

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incorporated and Ptinc§pal Place 111 5 ill 5

Citizen ofAnother State
- ofBusineSs in Another State

l;:lt§ 516

 

Citizen or Subject of a Foreign Country 111 3 §:1 3 Fereign Nation

 

1V. ORIGIN (Plaee an X in one box oniy.)

h'o/l Origina| 13 2 Removed from 33 3 Rernanded from 111 4 Reinstated or fl 5 Transfcrrcd from another district (specify): 111 6 Multi- ill 1 Appeal to District
Proeeeding State Conit Appellate Couit Reopened District .1 udge from
Lt't:'gation Magistrate judge

 

V. REQUES'I`ED IN COMPLA`IN'E`: JURY DEMAND: ii(Yes 111 No (Checlc ‘Yes’ only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 232 1:] Yes MNO

s1 MONEY L)EMANDEI) ns CoMPLAINT: s Accordins to Pr@<)f (<$EO,GOG)

 

Vf. CAUSE OF ACTION (Ci€e the U.S. Civil Statute under which you are filing and Write a brief statement of cause. Do not cite jurisdictionai statutes unless diversity.)
15 USC 1692‘, UNLAWFUL DEB'}" COLLEC'§`ZON PRACT§CES

VlI. NATURE OF SUIT (Plaee an X in one box only.)

 

 
      

 

  

 

 

 

 

     

 

   
 

  
     

   
 
   
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Rates/etc. 111 §50 Reeovery of g 320 ASSW]L libel & 13 380 Other Personai !'_`1 530 Genera§ 13 730 Labor/Mgmt.

13 460 Deportation Overpayment & S§ande‘ , Property Damage |:] 535 Deat§i Penaity Reporting &

5 470 Racketeer Inf!uericeé Enforcement cf 3 330 F‘_“i' ,E,mpl°§'ers 13 385 Ptoperty Damage |_`.| 540 Mandamus/ Disc§osure Aet
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1'_`| 310 Selective Service Veterans) ij 355 Momr Vehicle Wit§zdrawal 28 '

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nation Unéer Equal [J 240 Torts to Land Application Oti'ter ii 690 Other fl 8'70 'l`axes (U.S. Piaintiff
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State Statutes C] 465 finer Immigration USC 7609

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F{)R OFFICE USE ONLY: Case Nnmber;

 

AFTER COMPLETING THE FRON'I` SIDE OF FORM CV-’ll, COMPLETE THE INFORMATION REQUESTED BELOW.

 

cv-n {05/03)

CIVIL COVER SHEE'E`

Page § on

Case 2:12-cV-05403-DDP-1\/|RW Document 1 Filed 06/21/12 Page 9 of 9 Page |D #:12

UNI'I`ED S’I`A"I`ES DISTR¥C'I` COURT, CENTRAL DISTRICT OF CALIFORNIA '
CIVlL CGVER SI~II'.`.E'I`

VIII(a). IDENTICAL CASES: Has this action been previously tired in this court and dismissed, remanded or closed? E{No fl Yes
if yes, list case number(s);

 

VHI(b). RELATED CASES: ilave any cases been previousiy filed in this court that are related to the present case? [G'No 113 Yes
If yes, list case numbcr(s):

 

Civil cases are deemed related ifa previously filed case and the present case:
(Cheek all boxes that apply) il A. Arise from the same or close§y related transactions, happenings cr events; or
ij B. Caii for determination of the same or substantia§iy related or similar questions of iaw and fact', or
€."1 C. For other reasons would enrai% substantial duplication of §abor if heard by different jedges; or
ij D. involve the same patent7 trademark or eopyright, Bd_ one of the factors identified above in a, b or c also is present

 

IX. VENUE: (When completing the following infonnation, use an additional sheet if necessary.)

(a) List the Cot:nty in this District; California County outside of this District; State if other than Caiifornia; or Foreign Country, in which EACH named plaintiff resides
113 Cheek here ifthe government its agencies or employees is a named p§aintiff. if this box is checked, go to item (b).

 

County in this Disirict;* California County outside of this District; State, if other than Calx`f`omia; or Foreign Ccuntry

 

LOS ANGELES COUNTY

 

(b) List the Coonty in this District; Califomia County outside of this District; State if other than Caiifornia; or Foreign Cotmtry, in which EACH named defendant residesl
113 Check here if the government its agencies or employees is a named defendant If this box is checked, go to item (c).

 

County in this District:* Calit'ornia County outside of this D§strict; State, if other than California; or Foreign Country

 

WASHING'£`ON

 

 

 

 

(c) List the Coenty in this District; Califomia County outside of this District; State if other than Ca§ifornt`a', or Foreign Coantry, in which EACH claim arose
Note: fn land condemnation cases, use the location of the tract ofland involvedl

 

County in this §Jistrict;* Calit"ornia County outside of this District; Statc, if other than California; or Foreign Countiy

 

LOS ANGELES COUNTY

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties

 

 

 

Note: In tend condemnation cases use tire location of the tract of and in lved ,
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>c. sIoNATuRE oF Ai'roRNEY (oR rao PER): t ii note 05/29/2912

No¢ice to CounsclfParties: '§`he CV~'/'l {JS-44) Civi§ Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. Th§s form, approved by the .1 ud icia[ Confcrence of the United States in Scptember 1974, is required pursuant to Local Rule 3-1 is not fried
but is used by the Clerl< of the Court for the purpose ufstatisties, venue and initiating the civil docket sheet (For more detailed insirections, See separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Canse of Actiort

861 HIA All claims for health insurance benefits (i‘vledicarc) under Titic 18, Part A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing faciiitics, etc., for certification as providers ofservices under the
program (42 U.S.C. 1935FF(1)))

362 BL All claims for “Blac§< Lung” benefits under Title 4, Part B, of the Federal Coal Mr`ne `Heaith and Sai`ety Act of 1969.
(30 U.S.C. 923)

863 DEWC All claims died by insured workers for disability insurance benefits under 'i`itle 2 cf the Social Security Act, as
amended; plus aii claims filed for chiid’s insurance benefits based on disabilityl (42 U.S.C. 405(§))

863 DIWW nil claims filed r`or widows or widowers insurance benefits based on disabt'i§ty under 'i`itle 2 of the Socia§ Secority
Act, as amended {42 U.S.Ci 405(g)}

364 SSEI) All claims for suppiemental security income payments based upon disability filed under 'i`itle 16 ofth Soc§al Security
Act, as amended

865 RSi A.ll claims for retirement (old agc) and survivors benefits under 'l`it|e 2 of the Social Security Act, as amended (42
U-S-C- (e))

 

CV»'TI {05/08} CIVIL C{)VER SHEE'I` Page 2 on

